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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN


DANIELLE WELLS,

                      Plaintiff,
v.                                                Case No. 1:14-cv-01040-RHB

NATIONAL CHECK AFFILIATES, LLC,                   Hon. Robert Holmes Bell
RICHARD W. CERONNE d/b/a CHECK &
CREDIT REPORTING, INC., TERRY REID,
ANTHONY TYLER and REBECCA PEARCE,

                      Defendants.


                                    NOTICE OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff Danielle

Wells, through her attorney of record, files this Notice of Dismissal, with no defendant having

served either an answer or a motion for summary judgment.

       This action is dismissed with prejudice as to all defendants.



Dated: December 19, 2014                             /s/ Kristen L. Krol
                                                     Kristen L. Krol (P55103)
                                                     Law Office of Kristen L. Krol, PLC
                                                     Attorney for Plaintiff
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